Case 3:20-cv-00738-JWD-RLB Document1-4 10/29/20 Page1of3

Filed May 1

 

Deputy Clerk of Gourt ' ‘
FAX Rocuivad Mu) 2020
LISA SOUTHARD AND NO. SEC.
ROBERT SOUTHARD
19™ JUDICIAL DISTRICT COURT
z VERSUS

2 PARISH OF EAST BATON ROUGE

ALBERTSONS COMPANIES, INC,

LOUISIANA i STATE OF LOUISIANA

 

PETITION FOR DAMAGES ;

 

|
NOW INTO COURT, through undersigned counsel of record, come Liga and
Robert Southard of the full age of majority, and residents of Bast Baton Rouge Parish
* Louisiana, who respectfully shows the Court as follows:
1, i
The following party is made Defendant herein:
ALBERTSONS COMPANIES, INC, LOUISIANA, with its principal
business establishment In Rast Baton Rouge Parish, Louisiana.
IL !

On or about May 19, 2019, LISA SOUTHARD and ROBERT SOUTHARD
were grocery shopping at ALBERTSONS COMPANIES, INC, LOUISIANA
(Albertson's) located at 15232 George O'Neal Re., Baton Rouge Loulstana.

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The accident occurred when plaintiff, LISA SOUTHARD, while exercising all
due care and caution, tripped over a piece of metal hanging from a fod cooler, that had
unsuccessfully been attempted to be repaired with duct tape and was a hidden hazard. As
a result, Lisa Southard fell onto the floor oe serious injuries to her spine and other
parts of baie body.

The sole cause of the incident and resulting injuries to LISA SOUTHARD, was
the negligence of the defendant, ALBERTSONS COMPANIES, bie LOUISIANA
purticularized in the following non-exclusive respects: |

A, Failure to warn of potentially dangerous condition of premises;

b. Failure to place a warming or caution sign in the orea; :

d. Failure to promptly, or within 2 reasonable time, remove and/or repair the

 

hazardous condition;
Page 1 of 4 1
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Case 3:20-cv-00738-JWD-RLB Document1-4 10/29/20 Page 2 of 3

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6. Failure to perform regular and/or diligent condition and/or maintenance

checks in an area of the store where the hazardous condition existed;

f. Failure, generally, to maintain the standard of care required in the above

described situation; and

g. Failing to properly repair a known defect;

h. Other acts and/or omissions to be shown at trial of this matter.

Vv. ‘

At the time of the accident sued on, LISA SOUTHARD, sustained severe and
painful injuries as a result of her fall. These injuries were caused-by the fault of the
defendant, and plaintiff's damages include:

Physical and mental pain and suffering and emotional distress;
Loss of enjoyment of lif; ‘
Medical and other out of packet expenses, past and future;

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Permanent Disability;
E. Logs income and logs of carning capacity, past and future;
F. Other damages to be shown at trial of this matter.
VI.
Ago result of the Incident sued upon herein, plaintiff, ROBERT SOUTHARD,
has sustained a loss of consortium, acrvices and society with his wife, Lisa.
. Vil,

As a result of the aforcmentioned negligence of the defendant, plaintiffs are
entitled to a trial and to recover damages in accordance with law, including lost wages,
including impeirment of earning capacity past and future, medical expenses past and
future, loss of consortium and other special damages and all general damages
contemplated under Louisiana Law, in amounts as are reasonable, j

WHERETORE, Plaintiffs, LISA SOUTHARD and ROBER'T SOUTHARD,
pray for citation and service of process, and, after duo proceedings are had, Including
trial, that there be judgment in their favor, and against Defendants, ALBERTSONS
COMPANLES, INC, LOUISIANA, for damages together with legal interest thereon from
date of judicial demand until paid, and for all cost of these procoodings.

 

Page 2 of 4
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Case 3:20-cv-00738-JWD-RLB Document1-4 10/29/20 Page 3of3

Respectfully Submitted, ;

Gre . Miller (17059)

Millay, Hampton and Hilgendorf
3960 Government Street

Baton Rouge, LA 70806
Telephone (225) 343-2205
Facsimile (225) 343-2870
Attorney for Plaini{ff

PLEASE SERVE:

ALBERTSONS COMPANIES, INC, LOUISIANA
Through its agent for service of process . i
CT Corporation ‘

 

3867 Plaza Tower Dr. ,

Baton Rouge, LA 70816
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Page 3 of 4
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